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     Facsimile: (916) 447-2988
9
     Attorney for Defendant
10   DEREK LADONTE MADDOX
11
12                         IN THE UNITED STATES DISTRICT COURT
13                       FOR THE EASTERN DISTRICT OF CALIFORNIA
14
15
16   UNITED STATES OF AMERICA,             )   NO. CR-S-03-0371 MCE
                                           )
17                     Plaintiff,          )
                                           )   STIPULATION AND ORDER CONTINUING
18         v.                              )   STATUS HEARING
                                           )
19   DEREK LADONTE MADDOX, and             )   Date: April 25, 2006
     BRENT DELVALEN BLAKE,                 )   Time: 8:30 a.m.
20                                         )   Judge: Hon. Morrison C. England
                       Defendants.         )
21                                         )
     _______________________________
22
23         DEREK LADONTE MADDOX, by and through his counsel, MICHAEL BIGELOW,
24   BRENT DELVALEN BLAKE, by and through his counsel VICKI E. CODY, and the
25   United States Government, by and through its counsel, WILLIAM WONG,
26   Asst. U.S. Attorney, hereby agree to continue the status hearing set
27   for April 18, 2006, to April 25, 2006, at 8:30 a.m.
28   ///
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1         This continuance is requested because Mr. Maddox’s counsel is
2    unavailable on April 18th, because he is in trial on another matter our
3    of town. The parties further agree and stipulate that time should be
4    excluded from calculation under the Speedy Trial Act (18 U.S.C. § 3161
5    et seq.) for the following reason: time for counsel to prepare and
6    unavailability of counsel (Local Code T4).        Accordingly time is
7    excluded under 18 U.S.C. § 3161(h)(8)(iv)(Local Code T4), from April
8    18, 2006, through and including April 25, 2006.
9         IT IS SO STIPULATED.
10   Dated: April 14, 2006
                                            Respectfully submitted,
11
                                            /s/ Signature on file w/CODY
12                                          VICKI E. CODY
                                            Attorney for Defendant
13                                          BRENT DELVALEN BLAKE
14   Dated: April 14, 2006
                                            Respectfully submitted,
15
                                            /s/ Signature on file w/CODY
16                                          MICHAEL BIGELOW
                                            Attorney for Defendant
17                                          DEREK LADONTE MADDOX
18   Dated: April 14, 2006
                                            McGREGOR W. SCOTT
19                                          UNITED STATES ATTORNEY
20                                          /s/ Signature on file w/CODY
                                            WILLIAM WONG
21                                          Assistant U.S. Attorney
22
                                          ORDER
23
     IT IS SO ORDERED.
24
     DATED: April 18, 2006
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     Case 2:03-cr-00371-JAM-EFB Document 406 Filed 04/19/06 Page 3 of 3


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3                                     _____________________________
                                      MORRISON C. ENGLAND, JR
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                                      UNITED STATES DISTRICT JUDGE
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